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From:             Romano, Michael (USASPC)
To:               Boylan, Eric (USADC)
Subject:          FW: Antony Vo 21-CR-509 (TSC
Date:             Wednesday, April 10, 2024 10:51:11 AM




From: Maria Jacob <Maria_Jacob@fd.org>
Sent: Friday, April 22, 2022 9:24 AM
To: Timothy Bradley <Tim_Bradley@dcd.uscourts.gov>; Romano, Michael (USASPC)
<MRomano@usa.doj.gov>
Subject: [EXTERNAL] RE: Antony Vo 21-CR-509 (TSC

Good Morning,

After much discussion with Mr. Vo, he has had a change of heart and no longer wishes to enter a
guilty plea. Would it possible to convert the plea hearing next week into a status conference
instead?

Thank you and sorry for the change.

Maria N. Jacob
Assistant Federal Public Defender
Office of the Federal Public Defender
for the District of Columbia
625 Indiana Avenue, N.W. Suite 550
Washington, D.C. 20004
(202) 208-7500 *105

From: Timothy Bradley <Tim_Bradley@dcd.uscourts.gov>
Sent: Thursday, April 21, 2022 2:33 PM
To: Romano, Michael (USASPC) <Michael.Romano2@usdoj.gov>; Maria Jacob
<Maria_Jacob@fd.org>
Subject: RE: Antony Vo 21-CR-509 (TSC

Good Afternoon Counsel,

The judge would like to have the waiver executed as a precaution. Please
return the executed waiver before next Wednesday’s hearing. Thank you.
